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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 0:17-cv-61027-CMA


     MICHAEL BERNSTEIN,

            Plaintiff,                                  Mediator: Joel Levine, Esq.
                                                        Judge: Honorable Cecilia M. Altonaga
     V.                                                 Conference Date: July 12, 2017

     UNITED OF OMAHA LIFE INSURANCE
     COMPANY OF AMERICA,

            Defendant.
                                                I



                           DISPOSITION OF MEDIATION CONFERENCE

          THIS CAUSE, having been submitted to Mediation before JOEL LEVINE, ESQ.,
     Mediator, the disposition of the mediation conference is as follows:

          SETTLED.


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     For Plaintiff: John P. Murray, Esq., Ed Zebersky, Esq., Michael Bernstein, Stephen
     Bernstein.

     For Defendant: Wendy L. Furman, Esq., and via telephone, David Barron




     Respectfully Submitted:


     July 13, 2017             Joel Levine, Mediator
